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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP,                              )
                                              )
               Plaintiff,                     )
                                              )
               v.                             ) Civil Action No. 1:21-cv-2769 (TSC)
                                              )
BENNIE G. THOMPSON, et al.,                   )
                                              )
               Defendants.                    )
                                              )

      JOINT MOTION FOR A FURTHER SIXTY-DAY EXTENSION OF TIME TO
                       RESPOND THE COMPLAINT

       The parties to this matter jointly request a further sixty-day extension of time for

Defendants to respond to the current Complaint. In the absence of an extension, Defendants’

response is due July 5, 2022. The Court has granted five prior extensions of the response time.

       The parties’ motion is supported by good cause. The Supreme Court denied Plaintiff’s

Application for a Stay of Mandate and Injunction Pending Review, see Order No. 21A272, 595

U.S. ___ (2022) (Jan. 19, 2022), and on February 22, 2022, the Court denied Plaintiff’s petition

for certiorari. See https://www.supremecourt.gov/orders/courtorders/022222zor_bq7d.pdf.         The

parties have again conferred with respect to Defendants’ forthcoming response to the Complaint

and the future of the litigation. The parties agreed that the best course was to maintain the status

quo and further defer the Defendants’ response for sixty days so that Plaintiff can determine his

next steps.

       Accordingly, the parties request that the Court grant this unopposed motion for a further

sixty-day extension of time, until September 6, 2022, in which to respond to the Complaint.
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Dated: June 30, 2022               Respectfully submitted,

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